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                                   STATEMENT OF FACTS

        Your affiant, Benjamin G. Fulp, is a Special Agent with the Federal Bureau of Investigation
(FBI). Currently, I am a tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of a
violation of Federal criminal laws.

       U.S. Capitol Police secure the U.S. Capitol 24 hours a day. Restrictions around the U.S.
Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was suspended until shortly after 8:00 p.m. Vice President Pence
remained in the United States Capitol from the time he was evacuated from the Senate Chamber
until the sessions resumed.

        During national news coverage of the aforementioned events, video footage that appeared
to be captured on mobile devices of persons present on the scene depicted evidence of violations
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of local and federal law, including scores of individuals inside the U.S. Capitol building without
authority to be there.

        Following the January 6, 2021, attack on the Capitol, your affiant reviewed multiple videos
derived from open-source databases, as well as both Metropolitan Police Department (MPD) and
U.S. Capitol Police holdings. During that review, your affiant observed a subject committing
assaults on MPD and U.S. Capitol Police officers on January 6, 2021, between approximately 2:43
p.m. and 3:30 p.m., in and around the Lower West Terrace of the Capitol building. The subject,
later identified as FEDERICO GUILLERMO KLEIN (KLEIN), is a white male with brown hair
and distinctive teeth, who was wearing a red “Make America Great Again” (MAGA) hat, a
distinctive green jacket, dark dress pants, and a blue dress shirt. KLEIN would later change into
a red United States Marine Corps (USMC) hat. In the above-mentioned video footage, your affiant
observed KLEIN resisting officers, attempting to take items from officers, and assaulting officers
with a riot shield.

        On approximately January 20, 2021, KLEIN was included in a “Seeking Information” list
and given the moniker “136-AFO.” The FBI posted that list to its website and to social media in
order to garner public assistance to identify the individual.
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        The next day, on January 21, 2021, an anonymous individual (hereinafter “Tipster 1”)
submitted a tip through the FBI Office of Public Affairs online portal and stated that 136-AFO
resembled a man the tipster previously met named “Freddie Klein.” Tipster 1 indicated that when
they met KLEIN on an unspecified date, KLEIN stated he lived in the Washington, D.C. area.
Tipster 1 provided the Facebook account for KLEIN as www.facebook.com/freddieklein78. Upon
review of the account, your affiant confirmed that the Facebook account was associated with
KLEIN based, in part, on the photos posted to the account that bore a strong resemblance to 136-
AFO. Your affiant also would note that KLEIN was born in 1978.

Photograph from www.facebook.com/freddieklein78




       On January 25, 2021, a known individual (hereinafter “Witness 1”) submitted an online tip
to the NTOC and indicated that 136-AFO bore a strong resemblance to a person it knew as
“Freddie Klein.” Witness 1 described how they knew KLEIN and explained that they had met
KLEIN on two occasions, during which they had brief small talk with KLEIN. Witness 1 provided
law enforcement with the same Facebook account for KLEIN as Tipster 1. Witness 1 also provided
KLEIN’s LinkedIn account as www.linkedin.com/in/freddie-klein-03b71812/. Upon review of
the accounts, your affiant confirmed that both accounts were associated with KLEIN based on the
photos that bore a strong resemblance to 136-AFO, and information on the accounts that
corresponded with known information about KLEIN.

       Based upon the information provided by Tipster 1 and Witness 1, your affiant determined
that KLEIN had been an employee of the United States Department of State (DOS) on January 6,
2021. KLEIN resigned his position on January 19, 2021. You affiant also learned that, on January
6, 2021, KLEIN possessed a Top Secret security clearance that had been renewed in 2019.

        On February 10, 2021, your affiant and a DOS Diplomatic Security Special Agent
interviewed an identified individual (hereinafter “Witness 2”), a former colleague of KLEIN’s at
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DOS. Witness 2 and KLEIN worked together from approximately February 2019 through January
2021. KLEIN was a Schedule-C political appointee who began working at DOS in 2017 in the
office of Brazilian and Southern Cone Affairs. Witness 2 worked with KLEIN in-person multiple
times per week throughout the time they worked together. Witness 2 reported that they had no
animosity towards KLEIN. Witness 2 last saw KLEIN on January 19, 2021; Witness 2 recalled
the specific date because it was prior to President Biden’s inauguration and KLEIN’s resignation
from DOS. Your affiant showed Witness 2 several still photographs from a video posted on
YouTube that depicted some of the events at the United States Capitol on January 6, 2021. Witness
2 positively identified KLEIN in the photos.

        According to records obtained through a search warrant served on AT&T, in and around
the time of the incident on January 6, 2021, the cellphone associated with number (***) ***-6105,
was identified as having utilized a cell site consistent with providing service to a geographic area
that includes the interior of the United States Capitol building. A check of law enforcement
databases revealed that the number (***) ***-6105 is associated with KELIN.

        To date, the FBI has received eight (8) tips about 136-AFO. Two of those tips were about
KLEIN, as mentioned above. In addition, four (4) anonymous individuals submitted information
regarding 136-AFO to the FBI National Threat Operations Center (NTOC), stating that they
thought 136-AFO could be various individuals they knew that were not KLEIN. One such tip
identified 136-AFO as possibly an individual who lived in St. Louis, but stated they had not seen
the person in 10-12 years and was it was only a 25-30% possibility that 136-AFO was the person
the tipster knew. Another tip stated 136-AFO “could be” a person in Ohio that they had not seen
in approximately 3 years; this tipster stated that they were not sure of the identification, but wanted
to report the information “just in case.” Another tipster reported that 136-AFO “might be” a person
from Minnesota. An additional person also reported that 136-AFO “looks just like” a person it
knew from the Chicago, Illinois area; the same tipster also reported that 136-AFO could be the son
of the person in the Chicago area. In addition to the anonymous tips, one identified individual
stated that they recognized 136-AFO as a reality-television personality who they had seen on
different television shows. Your affiant reviewed known photographs of all of the individuals
reported in the tips, compared those photographs to 136-AFO, and due to differences in physical
characteristics concluded that the person in question was not 136-AFO.

        Another tip came from an identified individual (hereinafter “Witness 3”), who lives in the
Washington, D.C. area, and who identified 136-AFO as their neighbor (hereinafter “Person 1”).
Witness 3 reported that Person 1 bore a “striking resemblance” to the individual depicted in 136-
AFO and had exhibited extreme behavior to include displaying inflammatory rhetoric on their
vehicle about President Biden, Vice President Harris, the Black Lives Matter movement, and the
“ANTIFA” movement. Witness 3 also reported that Person 1’s vehicle was not parked at his house
on January 6, 2021, although Witness 3 did not know if Person 1 participated in the riots. Your
affiant reviewed known photographs of Person 1, compared those photographs to 136-AFO, and
due to differences in physical characteristics concluded that Person 1 was not 136-AFO. In,
addition, your affiant queried law enforcement databases and discovered a cell phone number
associated with Person 1. According to records obtained through a search warrant served on
AT&T, in and around the time of the incident on January 6, 2021, the cellphone associated with
Person 1 was not identified as having utilized a cell site consistent with providing service to a
geographic area that includes the United States Capitol building.
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        Your affiant is not aware of any other information provided to the FBI about KLEIN or
136-AFO at this time. However, the FBI is receiving tips from throughout the country on a daily
basis about individuals who may have participated in the events at the Capitol on January 6, 2021.

        During the investigation, your affiant reviewed surveillance footage of the tunnel that led
to the Lower West Terrace Capitol building entrance. That surveillance video captured KLEIN
entering the tunnel at 2:43 p.m. At that time, a group of U.S. Capitol Police and MPD officers had
formed a police line at that entrance to the Capitol to prevent the mob from entering the building
through that entrance. The screenshot below shows KLEIN entering the mouth of the tunnel with
other individuals in the mob; he is facing the direction of the police line, which is immediately in
front of the doors to the Capitol building.




        As evidenced by the Body Worn Camera (BWC) footage of various members of MPD,
KLEIN quickly pushed his way to the front-left side of the crowd and to the doorway to the Capitol
building, where he physically and verbally engaged with the officers holding the line, thereby
affecting their ability to disperse the crowd.
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KLEIN was specifically captured on the Body Worn Camera (BWC) of a known MPD Sergeant
(hereinafter “Sergeant 1”), at approximately 2:55:24 p.m., reaching out and seemingly attempting
to take something from the vicinity of the officers protecting the doorway, as can be seen in the
screenshot below:




        KLEIN was also captured on the BWC of a second MPD Sergeant (hereinafter “Sergeant
2”) at approximately 3:00:20 p.m. At that time, the mob was attempting to push through the first
of two sets of doors to the U.S. Capitol building. Sergeant 2 verbally issued a command to the
crowd to “Back up.” Sergeant 2 repeated that command six (6) times. KLEIN did not back up.
At 3:00:29 p.m., Sergeant 2 issued the command “Let it go now, back up.” Again, KLEIN did not
back up. Instead, at 3:00:37 p.m., he violently shoved a riot shield that apparently had been taken
from an officer, towards the officers trying to stop the mob from gaining access to the building.
In doing so, KLEIN pushed the riot shield in between the doors to the Capitol, preventing officers
from closing the doors.
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For several minutes, KLEIN continued his attempts to breach the police line and enter the Capitol
building.




        Fifteen minutes after KLEIN was captured by Sergeant 2’s BWC using the shield as a
wedge in the door to the Capitol, the BWC of a different MPD officer (hereinafter “Officer 1”),
captured KLEIN still fighting the officers in the tunnel of the Lower West Terrace of the Capitol
building. At 3:15:52 p.m., KLEIN, again in possession of either an MPD or an U.S. Capitol Police
riot shield, violently shoved the shield into an officer’s body in an attempt to breach the police
line.
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Ultimately, Sergeant 2 deployed a chemical irritant spray that forced KLEIN to move to a new
area.

        In addition to the videos discussed above, multiple open-source videos captured KLEIN
inciting the mob and trying to break through the police line in the Lower West Terrace tunnel and
into the Capitol building. For example, in one open-source video posted on YouTube, while a
mob of people assaulted and struggled with law enforcement, KLEIN was captured at
approximately minute 10:37 of the video calling back to the crowd behind him, “We need fresh
people,       we        need        fresh       people”        multiple    times.              See
https://www.youtube.com/watch?t=636&v=qc0U755-uiM&feature=youtu.be (last visited Feb.
16, 2021). Additional members of the mob arrived shortly thereafter and continued efforts to break
through the police line. KLEIN repeated this call for “fresh people” less than a minute later, at
approximately minute 11:18 on the video. As the mob in the tunnel grew, the crowd began to push
together against the officers to overrun the police line. The top of KLEIN’s body was captured in
that video as depicted below:
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        Later in the same video, at approximately minute 24:29, KLEIN was captured actively
resisting and pushing against additional unidentified MPD and/or U.S. Capitol Police officers,
hindering     their   ability  to    disperse    the   crowd    in   the   tunnel.        See
https://www.youtube.com/watch?t=1469&v=qc0U755-uiM&feature=youtu.be (last visited Feb.
16, 2021).




         Moreover, at approximately minute 27:20, KLEIN was captured aggressively struggling
with and pushing against the riot shields of two known MPD officers (hereinafter “Officer 2” and
“Officer 3”). See https://www.youtube.com/watch?t=1641&v=qc0U755-uiM&feature=youtu.be
(last visited Feb. 16, 2021). As KLEIN did so, Officers 2 and 3 were fighting to maintain a police
line. U.S. Capitol Police officers were interspersed in the crowd and in direct contact with Officers
2 and 3 at that time.
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        At approximately 3:21 p.m., MPD Officers pushed the rioters, including KLEIN, out of the
Lower West Terrance tunnel. At the mouth of the tunnel was a set of stairs that led to the Lower
West Terrace. A second open-source YouTube video, at minute 56:14 of the video, showed that
during the struggle with the officers, KLEIN appeared to have lost his red MAGA hat. See
https://www.youtube.com/watch?v=iNFcdpZdkh0&feature=emb_logo&ab_channel=%EA%9C
%B0%E1%B4%8F%CA%80%E1%B4%8D%E1%B4%87%CA%80%E1%B4%A1%E1%B4%8
0%C9%A2%C9%AA%E1%B4%87 (last visited Feb. 23, 2021).
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Over the course of several seconds, KLEIN was captured looking around at the ground, consistent
with looking for an item on the ground. Thereafter, KLEIN placed a red hat on his head. See
https://www.youtube.com/watch?v=iNFcdpZdkh0&feature=emb_logo&ab_channel=%EA%9C
%B0%E1%B4%8F%CA%80%E1%B4%8D%E1%B4%87%CA%80%E1%B4%A1%E1%B4%8
0%C9%A2%C9%AA%E1%B4%87 (last visited Feb. 23, 2021).
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The hat, later determined to be a red USMC hat, apparently did not fit, however, and footage
captured KLEIN adjusting the red hat, and continuing to wear it.                         See
https://www.youtube.com/watch?v=iNFcdpZdkh0&feature=emb_logo&ab_channel=%EA%9C
%B0%E1%B4%8F%CA%80%E1%B4%8D%E1%B4%87%CA%80%E1%B4%A1%E1%B4%8
0%C9%A2%C9%AA%E1%B4%87 (last visited Feb. 23, 2021).




        A side-by-side comparison of photos corroborates the video that KLEIN switched red hats.
In addition, a tear on the shoulder of KLEIN’s jacket, visible in both the above screenshot and the
below photo, confirms that it is the same individual.
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        At about the same time that officers pushed rioters out of the Lower West Terrace tunnel,
officers discovered that a known MPD Officer (hereinafter “Officer 4”) had been dragged into the
crowd, which was. MPD Officers rushed into the crowd to attempt a recovery as the officers
verbally announced, “Officer down. Move, move, get out of the way.” As officers move through
the crowd to reach Officer 4 another known MPD Officer (hereinafter “Officer 5”) encountered
KLEIN. The encounter was captured by Officer 5’s BWC. As Officer 5 went to retrieve Officer
4, he stated, “Move, move!” KLEIN remarked, “No Way.” Another officer stated, “Let me get
my friend.”




      Officer 4



        Based on an open-source video posted to YouTube, as Officer 4 made his way back up the
steps towards the tunnel, at approximately minute 1:24:30 of the video, KLEIN appeared to help
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Officer 4 towards the tunnel. See https://www.youtube.com/watch?v=0zyjCvDN4Ig&t=3741s
(last visited Feb. 18, 2021).




                               Officer 4




KLEIN was also captured on Officer 5’s BWC as shown below:




                         Officer 4




        Based on the foregoing, your affiant submits that there is probable cause to believe that
FEDERICO GUILLERMO KLEIN violated 18 U.S.C. §§ 1752(a)(1), (2), and (4) which makes it
a crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
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such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions; (4)
knowingly engage in any act of physical violence against any person or property in any restricted
building or grounds; or attempts or conspires to do so. For purposes of Section 1752 of Title 18,
a “restricted building” includes a posted, cordoned off, or otherwise restricted area of a building
or grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that FEDERICO GUILLERMO
KLEIN violated 40 U.S.C. §§ 5104(e)(2)(D) and (F), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; (F) engage in an act of physical violence in the Grounds or
any of the Capitol Buildings.

       Your affiant submits there is also probable cause to believe that FEDERICO GUILLERMO
KLEIN violated 18 U.S.C. §§ 1512(c)(2) and 2, which makes it a crime to obstruct, influence, or
impede any official proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional
proceedings are official proceedings.

        Your affiant further submits there is probable cause to believe that FEDERICO G. KLEIN
violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act
to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in
the lawful performance of his official duties incident to and during the commission of a civil
disorder which in any way or degree obstructs, delays, or adversely affects commerce or the
movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.

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        Finally, your affiant submits there is probable cause to believe that FEDERICO
GUILLERMO KLEIN violated 18 U.S.C. §§ 111(a)(1) and 111(b), which makes it a crime to
forcibly assault, resist, oppose, impede, intimidate, or interfere with any person designated in
section 1114 of Title 18 while engaged in or on account of the performance of official duties, while
using a deadly or dangerous weapon. Persons designated within section 1114 of Title 18 include
any person assisting an officer or employee of the United States in the performance of their official
duties and where the acts in violation of this section involve physical contact with the victim and
the intent to commit another felony.




                                                      BENJAMIN G. FULP
                                                      SPECIAL AGENT, FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 2nd day of March, 2021.
                                                                             Digitally signed by G. Michael
                                                                             Harvey
                                                                             Date: 2021.03.02 11:11:20 -05'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
